Case 1:19-cr-00080-DKW Document 83 Filed 09/25/20 Page 1 of 8                   PageID #: 499




                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI’I

 UNITED STATES OF AMERICA,                       Case No. 19-cr-00080-DKW-1

                     Plaintiff,                  ORDER OVERRULING
                                                 DEFENDANT’S OBJECTION TO
            v.                                   GOVERNMENT’S PROPOSED
                                                 JURY INSTRUCTION NUMBERS
 NOEL MACAPAGAL,                                 2 AND 3 1

                     Defendant.



       This matter comes before the Court with Defendant Noel Macapagal’s

objection to two of the government’s proposed jury instructions in this prosecution

brought under Section 2422(b) of Title 18 of the U.S. Code for allegedly

attempting to persuade, induce, entice, or coerce a minor to engage in unlawful

sexual activity. Among other things, Macapagal argues that the government’s

proposed instructions (1) misstate the breadth of Section 2422(b) because the

statute does not capture communications with an adult intermediary who evinces

no intent to persuade, induce, entice, or coerce a minor, and (2) ignore that the

statute requires some sort of reluctance, unwillingness, or “something” on the part

of the alleged minor victim.



1Pursuant to Local Civil Rule 7.1(c), which is made applicable here by Local Criminal Rule 12.3,
the Court finds this matter suitable for disposition without a hearing.
Case 1:19-cr-00080-DKW Document 83 Filed 09/25/20 Page 2 of 8                       PageID #: 500




       Having reviewed the parties’ briefs and related documents, the Court

concludes that the proposed jury instructions at issue here do not misstate or omit

any element of an offense under Section 2422(b). More specifically, the proposed

instructions do not permit conviction based upon communications that do not

evince an intent to persuade, induce, entice, or coerce. In so finding, the Court

follows every Court of Appeals decision to have addressed the issue Defendant

presents. Further, in light of binding Ninth Circuit precedent, the Court disagrees

that Section 2422(b) requires “something” from the alleged minor victim. Instead,

as Ninth Circuit law dictates, the only relevant “something” for purposes of

Section 2422(b) is the conduct of the defendant. As a result, Macapagal’s

objections, Dkt. No. 73, are OVERRULED.

                               RELEVANT BACKGROUND

       Macapagal is charged under Section 2422(b) with using the internet and a

cellular telephone to knowingly attempt to persuade, induce, entice, or coerce a

minor to engage in sexual activity made unlawful by Hawai’i Revised Statutes

Section 707-730(1)(b). Dkt. No. 17. 2


2Section   2422(b) provides as follows:

       Whoever, using the mail or any facility or means of interstate or foreign
       commerce, or within the special maritime and territorial jurisdiction of the United
       States knowingly persuades, induces, entices, or coerces any individual who has
       not attained the age of 18 years, to engage in prostitution or any sexual activity for
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Case 1:19-cr-00080-DKW Document 83 Filed 09/25/20 Page 3 of 8                   PageID #: 501




       In advance of an anticipated trial, the government filed proposed jury

instructions. Dkt. No. 70. 3 As relevant here, proposed instruction numbers 2 and

3 read, respectively, as follows:

               The government is not required to prove that the defendant
       communicated directly with a person he believed to be a minor. The
       first element of the offense can be satisfied where the defendant
       communicated with an adult intermediary or adult guardian of a
       minor, as long as the defendant acted with the intent to persuade,
       induce, or entice a minor. 4

             A minor’s willingness to engage in sexual activity, or stated
       consent to sexual activity, is irrelevant to the elements of [Section
       2422(b)] and Hawaii Revised Statutes § 707-730(1)(b).

       On August 5, 2020, Macapagal objected to these proposed instructions.

Dkt. No. 73; see also Dkt. No. 67 at 2. The government has filed a response in

opposition to Macapagal’s objections, Dkt. No. 81, and Macapagal has filed a

reply, Dkt. No. 82. This Order now follows.

                               STANDARD OF REVIEW

       A party objecting to any jury instruction “must inform the court of the

specific objection and the grounds for the objection….” Fed.R.Crim.P. 30(d).



       which any person can be charged with a criminal offense, or attempts to do so,
       shall be fined under this title and imprisoned not less than 10 years or for life.
3Due to the coronavirus, trial has now been re-scheduled to commence on November 16, 2020.

Dkt. Nos. 79-80.
4The Court notes that the Government's Proposed Jury Instruction No. 2 does not precisely track

Section 2422(b) in that "coerce" is omitted from the intentionality component.
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Case 1:19-cr-00080-DKW Document 83 Filed 09/25/20 Page 4 of 8           PageID #: 502




Jury instructions are reviewed for whether they misstate or omit an element of the

charged offense. United States v. Chi Mak, 683 F.3d 1126, 1133 (9th Cir. 2012).

“In reviewing jury instructions, the relevant inquiry is whether the instructions as a

whole are misleading or inadequate to guide the jury’s deliberation.” United

States v. Frega, 179 F.3d 793, 806 n.16 (9th Cir. 1999).

                                   DISCUSSION

      The Court addresses each of Macapagal’s objections in turn.

I.    Proposed Jury Instruction Number 2

      First, Macapagal objects to proposed instruction number 2, arguing that

Section 2422(b) “does not capture communications made only to an ‘adult

intermediary’ that evince no intent to persuade, induce, entice, or coerce a minor.”

Dkt. No. 73 at 3. Macapagal further argues that Section 2422(b) “excludes

conduct directed only at someone else, such as an adult intermediary. And it does

not capture persuading, inducing, enticing, or coercing an adult to allow the

defendant to have sex with her minor child.” Id. at 4. With respect to this latter

argument, Macapagal asks this Court to reject the opinions of Circuit Courts of

Appeal that have held Section 2422(b) to capture the use of an adult intermediary,




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Case 1:19-cr-00080-DKW Document 83 Filed 09/25/20 Page 5 of 8                   PageID #: 503




and to instead follow the dissenting opinion of a single Circuit Court Judge. Id. at

4-8. 5

         The Court declines Macapagal’s invitation. Instead, although both parties

agree that the Ninth Circuit Court of Appeals has not addressed the specific issue

Macapagal raises here, the Court opts to follow the holdings of every Circuit Court

of Appeals to have addressed the issue and find that offensive communications

solely with an adult intermediary are sufficient to violate Section 2422(b). See,

e.g., United States v. Vinton, 946 F.3d 847, 853 (6th Cir. 2020); United States v.

Caudill, 709 F.3d 444, 446 n.7 (5th Cir. 2013) (collecting cases); see also United

States v. Carter, 2006 WL 997867, at *4-5 (E.D. Cal. Apr. 17, 2006). 6 Notably,

nothing in Section 2422(b) limits the offending conduct to direct communication

between a defendant and a minor victim. As such, the Court agrees with the Third

Circuit Court of Appeals’ observation that “[i]t is not at all evident that persuasion,

so defined, requires direct communication.…Sexual predators can and do–as this

case shows–attempt to persuade children to engage in sexual activity through the

victim’s parents or guardians.” United States v. Nestor, 574 F.3d 159, 162 n.4 (3d

Cir. 2009). To find otherwise, the Court would need to read words into the


5The dissenting opinion upon which Macapagal relies is in United States v. Laureys, 653 F.3d
27, 37-42 (D.C. Cir. 2011) (Brown, J., dissenting in part).
6The Court notes that Macapagal cites no decision, Circuit Court or otherwise, to have adopted

the position he argues for in his objections.
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Case 1:19-cr-00080-DKW Document 83 Filed 09/25/20 Page 6 of 8                    PageID #: 504




statute. At present, Section 2422(b) prohibits, in pertinent part, knowingly

persuading, inducing, enticing, or coercing a minor to engage in sexual activity.

For Macapagal’s argument to hold sway, the statute would need to add “directly”

or “by direct communication.” Section 2422(b), though, is silent in that regard,

and, as discussed, not one federal court has construed the statutory language to

require, implicitly or otherwise, the “direct communication” Macapagal contends

must exist. 7

       As a result, the Court overrules Macapagal’s objection to the government’s

proposed jury instruction number 2.

II.    Proposed Jury Instruction Number 3

       Second, Macapagal objects to the government’s proposed jury instruction

number 3, arguing that Section 2422(b) requires the government to prove that he

made “an attempt to bend the child-victim’s will.” Dkt. No. 73 at 9 (quotation

omitted). Macapagal asserts that the “ordinary, common-sense meaning” of

“persuades, induces, entices, and coerces” is “overcoming another’s opposing

will.” Id. In his reply, Macapagal further argues that, while a victim’s




7Contrary to Macapagal’s assertions, reaching such a conclusion does not require this Court to
use “interpretive aids[.]” See Dkt. No. 82 at 6-7.
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Case 1:19-cr-00080-DKW Document 83 Filed 09/25/20 Page 7 of 8                     PageID #: 505




willingness to engage in sexual activity is irrelevant, a victim’s unwillingness is

not. Dkt. No. 82 at 8-12.

       This Court disagrees, not the least because binding Ninth Circuit case law

commands that, for purposes of Section 2422(b), “the relevant inquiry is the

conduct of the defendant, not the minor.” See United States v. Dhingra, 371 F.3d

557, 561 (9th Cir. 2004). In Dhingra, the Ninth Circuit also stated that “[t]he

victim’s willingness to engage in sexual activity is irrelevant….” Id. at 567.

Faced with this clear statement, Macapagal, in essence, attempts to subvert it by

asking this Court to find that, while willingness is irrelevant, unwillingness is not.

Unwillingness, however, is simply a different side of the same coin. As the Ninth

Circuit explained in Dhingra, it is the conduct of the defendant, not the victim, that

is relevant under Section 2422(b). This is true whether a victim’s conduct is

allegedly willing or unwilling–it is all still the victim’s conduct. 8 In this light,

contrary to Macapagal’s contention, the government’s proposed instruction number

3 does not create “confusion” over Section 2422(b). Dkt. No. 82 at 12. Rather,

the proposed instruction merely focuses the reader on the proper inquiry: whether




8The Court adds that, in his reply, Macapagal appears to contend that a conviction could not
stand under Section 2422(b) if there is “no reluctance to assuage[]” on the part of a victim. Dkt.
No. 82 at 8. To repeat, this is simply an attempted end-run around Dhingra.
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Case 1:19-cr-00080-DKW Document 83 Filed 09/25/20 Page 8 of 8                    PageID #: 506




the defendant attempted to persuade, induce, entice, or coerce a minor to engage in

sexual activity. See Dhingra, 371 F.3d at 568. 9

       As a result, the Court overrules Macapagal’s objection to the government’s

proposed jury instruction number 3.

                                      CONCLUSION

       For the reasons set forth herein, Macapagal’s objection to the government’s

proposed jury instruction numbers 2 and 3, Dkt. No. 73, is OVERRULED.

       IT IS SO ORDERED.

       DATED: September 25, 2020 at Honolulu, Hawai‘i.




USA v. Noel Macapagal; Cr 19-00080 DKW; ORDER OVERRULING
DEFENDANT’S OBJECTION TO GOVERNMENT’S PROPOSED JURY
INSTRUCTION NUMBERS 2 AND 3




9The  Court also rejects Macapagal’s assertions that proposed instruction number 3 is redundant
of the joint elements instruction and creates “danger” by focusing the jury on sex with a minor.
See Dkt. No. 82 at 11. Instead, the proposed instruction represents a correct statement of Ninth
Circuit law, following the direction in Dhingra.
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